         Case 1:17-cr-00161-TSC Document 70 Filed 08/17/18 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

           v.
                                                           Case No: 1:17-cr-00161-TSC
 IMRAN AWAN et. al.,

                         Defendants.


                               REQUEST TO WITHDRAW DOCUMENT

        Defendant, Imran Awan, through counsel, respectfully moves this Court and Clerk to

 withdraw and disregard the filing submitted today as it was filed in error.


                                                      Respectfully submitted,

Dated: August 17, 2018                                /s/ Christopher Gowen
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          Case 1:17-cr-00161-TSC Document 70 Filed 08/17/18 Page 2 of 2



                                CERTIFICATE OF SERVICE
       I hereby certify that on this 17th day of August 2018, the foregoing with filed through the

court’s electronic filing system and served on all counsel of record.



Dated: August 17, 2018                                /s/ Christopher Gowen
